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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )          CR 121-048
                                               )
SAMMIE LEE SIAS                                )

                                          _________

                                          ORDER
                                          _________

       The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence Defendant

intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s willingness

to provide liberal discovery and the unopposed nature of the request, the Court GRANTS this

motion, (doc. no. 17), and any information not yet furnished shall be provided to the

government no later than fourteen days prior to trial.

       SO ORDERED this 16th day of February, 2022, at Augusta, Georgia.
